Case 2:05-cr-20239-STA Document 15 Filed 07/28/05 Page 1 of 2 Page|D 15

IN THE UNITED sTATEs DISTRICT COURT F"-ED B`*' %_~ D-C-
FoR THE wraerer DISTRICT oF TENNESSEE
wEsTERN DWISION 95 JUL 28 Ml |l= 27

 

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UNITED sTATEs oF AMERICA Ci£§ii its gsw mr

 

V. 05-20239-B

CALVIN MONROE

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 5 F-,?l ‘ 05 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

 

NAME 1'\*1. TEr:rv\/~\MO trw nn /?E.i?)é\l whoiSRetained/Appoimed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his present bond.
t § The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(heing held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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q__ l GW’N:H V//M 4""’
UNITED STATES MAGISTRATE JUDGE

 

CHARGES: 18:922(3);
U. S. Attorney assigned to Case: E. Gilluly

Ag,e: ,£5

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20239 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

